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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

JENNIFER A. MCLANE,

       Plaintiff,                                  Case No.: 1:17-cv-00272-JTN-ESC
                                                   Hon. Judge Janet T. Neff
v.                                                 Magistrate Judge Ellen S. Carmody

VELO ASSOCIATES PLC d/b/a
VELO LAW OFFICE,
and SCOTT A. RENNER,

     Defendant.

 STIPULATION TO DISMISS WITH PREJUDICE AND WITHOUT FEES OR COSTS

       Plaintiff Jennifer A. McLane, and Defendants Velo Associates PLC d/b/a Velo Law

Office and Scott A. Renner, through their undersigned attorneys of record, being all of the

parties who have appeared in this action, stipulate to the immediate dismissal of this lawsuit as

to all parties and with prejudice and without attorney’s fees or costs to either party.

       Dated: October 16, 2017

/s/ Jeffery D. Mapes (with consent)                /s/ Charity A. Olson
Jeffrey D. Mapes (P70509)                          Charity A. Olson (P68295)
Law Office of Jeffrey D. Mapes PLC                 BROCK & SCOTT, PLLC
29 Pearl St., NW, Ste. 305                         2723 S. State St., Ste. 150
Grand Rapids, MI 49503                             Ann Arbor, MI 48104
Tel: (616) 719-3847                                Tel: (734) 222-5179
Fax: (616) 719-3857                                Fax: (866) 941-8712
jeff@mapesdebt.com                                 Charity.Olson@brockandscott.com 	  
